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United States v. Adams, No. 24 Cr. 556 (DEH)
Exhibit H

March 25, 2025 Government Submission
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From: n, Alexandr: ANY:

To: Podolsky, Matthew (USANYS); Sassoon, Danielle (USANYS); Carbone, Perry (USANYS)
Subject: RE: Response to EA motion based on DW article

Date: Tuesday, January 21, 2025 11:16:38 PM

On the margin, | might cut your addition in (2) about the website/career plans. This letter has some
fire when talking about Spiro, and |’d probably keep the focus on him than Damian.

From: Podolsky, Matthew (USANYS) ji

Sent: Tuesday, January 21, 2025 10:58 PM
To: Sassoon, Danielle (USANYS) [ii Carbone, Perry (USANYS)

REE, 80:20, Acconcrs (USNS)

Subject: RE: Response to EA motion based on DW article

Sorry folks, I’m not even sure how, but | seem to have attached the original version. The version with
my edits is attached now.

From: Podolsky, Matthew (USANYS)
Sent: Tuesday, January 21, 2025 10:51 PM

To: Sassoon, Danielle (USANYS) iin; Carbone, Perry (USANYS)
RES 66°) Aconcs U5

Subject: FW: Response to EA motion based on DW article
Take a look and see what you think. | made the following edits:

1. | tweaked the portion distancing ourselves from the article just to say explicitly, this article
reflects the views of a private persona and not of the Government. | worry the other
formulation might come off as critical in of the article, whereas our point, | think, is just that
it’s not our viewpoint that’s being expressed and not for us to weigh in on the state of
government in New York.

2. | added a reference to the swipes at Damian’s website and career plans to highlight the way in
which they are reaching to criticize this person, though | don’t think it’s necessary if we think
it adds too many words.

3. | edited the final sentence. | think my edits do make it a little clunkier, but | found the original

phrasing a little provocative.

From: Scotten, Hagan (USANYS) [ini

Sent: Tuesday, January 21, 2025 10:23 PM

To: Sassoon, Danielle (USANYS) [iin ; Podolsky, Matthew (USANYS)
ee Rothman, Alexandra (USANYS) iis; Carbone,
Perry (USANYS) Ji ; Sobelman, Robert (USANYS) iii ;
Pomerantz, Lara (USANYS) [in

Cc: Cohen, Celia (USANYS) 1, ; Rohrbach, Andrew (USANYS)
S200, Derek (US 5N)S)

Subject: Response to EA motion based on DW article

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With thanks to Danielle and Matt for jumping on the phone to talk through specifics, here’s a revised
version the team is good with that | think addresses all the issues underlying the earlier versions.
Because there’s a lot of artificial red generated by moving stuff around, | thought it would be easier
for everyone to read if | sent a clean version with comments calling out the substantive changes and
explaining their rationale. Note that | think with these changes, we can revert to the original order,
which we believe buys us more credibility by first making clear we’re not defending the DW article
before then going on the attack. Danielle was on board with that conceptually, although obviously
she hasn't seen this draft yet.

We're hoping to file tomorrow morning, after Danielle can give it a final look, so if someone still has
a concern it might be easiest just to let me know so | can try to address, get team buy-in, then
recirculate.
